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                       UNITED STATES DISTRICT COURT
                          Northern District of California

                                     CIVIL MINUTES




 Date: February 26, 2024        Time: 9:30 AM – 3:36 PM     Judge: LAUREL BEELER
 Case No.: 21-cv-08458-LB       Case Name: Jackson v. Target Corporation



Attorney for Plaintiff: Erika Warren and Francesca Germinario
Attorney for Defendant: David Roth

 Deputy Clerk: Stephen Ybarra                      Reported by: Jennifer Coulthard

                                     PROCEEDINGS

JURY TRIAL - held.


Notes: Jury selection held. A jury of 7 selected and sworn. Parties deliver opening
statements. Plaintiff calls Bryon Jackson as a witness and direct, cross, and re-direct are
conducted. Plaintiff presents closing argument. Defense presents closing argument. Court
reads final jury charge. Jury deliberates and reaches unanimous verdict. Verdict
published on the record.

ADMITTED TRIAL EXHIBITS

Exhibit Numbers: 1, 2, & 3
